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                  EXHIBIT A
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                                                              ELECTRONICALLY FILED
                                                                 2020 Aug 04 AM 11:44
Harold Nyanjom et. al.                             CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                                          CASE NUMBER: 2020-CV-001248-TO
vs.
Sonic Corp et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    Sonic Corp
                                    RA: PAIGE S BASS
                                    300 JOHNNY BENCH DR
                                    OKLAHOMA CITY, OK 73104


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    AJ Stecklein
                                    748 Ann Avenue, Suite 101
                                    Kansas City, KS 66101


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 08/04/2020 01:31:30 PM


Documents to be served with the Summons:
PLE: Petition Petition
              Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 3 of 45
                                                              ELECTRONICALLY FILED
                                                                 2020 Aug 04 AM 11:44
Harold Nyanjom et. al.                             CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                                          CASE NUMBER: 2020-CV-001248-TO
vs.
Sonic Corp et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    America's Drive-In Restaurants LLC
                                    RA: CORPORATION SERVICE COMPA
                                    2900 SW WANAMAKER DRIVE SUITE 204
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    AJ Stecklein
                                    748 Ann Avenue, Suite 101
                                    Kansas City, KS 66101


within 21 days after service of summons on you.




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Documents to be served with the Summons:
PLE: Petition Petition
         Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 4 of 45
                                                    ELECTRONICALLY FILED
                                                        2020 Aug 04 AM 11:44
                                          CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2020-CV-001248-TO

                       IN THE EIGHTEENTH JUDICIAL DISTRICT
                    DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                                 CIVIL DEPARTMENT

ALYSSA JOHNSON and HAROLD                 )
NYANJOM, individually and on behalf of    )
all others similarly situated,            )
                                          )
               Plaintiffs,                )
                                          )
         v.                               )           Case No.:
                                          )
SONIC CORP., a Delaware limited liability )           JURY TRIAL DEMANDED
Company, and AMERICA’S DRIVE-IN           )
RESTAURANTS LLC, a Delaware limited )
liability company,                        )
                                          )
               Defendants.                )

                                  CLASS ACTION PETITION

          Plaintiffs, Alyssa Johnson and Harold Nyanjom, individually and on behalf of all others

similarly situated, through their undersigned counsel, alleges for their Class Action Petition against

Defendants, Sonic Corp. and America’s Drive-In Restaurants LLC (collectively, “Sonic”), based

upon personal knowledge as to themselves and their own acts and experiences, and, as to all other

matters, upon information and belief, including the investigation conducted by their counsel as

follows:

                                  NATURE OF THE ACTION

          1.     This action arises from Defendants’ violation of the Fair and Accurate Credit

Transactions Act (“FACTA”) amendment to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

seq., as amended (the “FCRA”), a federal statute which requires merchants to mask all but the last

five digits of credit card and debit card numbers on receipts provided to consumers. See §

1681(c)g.



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       2.       Despite the clear language of the statute, Defendants knowingly or recklessly failed

to comply with FACTA by printing 10 digits of 16-digit credit and debit card numbers on receipts

provided to consumers. As a result of Defendants’ unlawful conduct, Plaintiffs and members of

the Class, each of whom conducted business with Defendants during the timeframe relevant to this

petition, suffered a violation of their statutory rights under § 1681c(g), an invasion of their privacy,

and were burdened with an elevated risk of identity theft.

                                  JURISDICTION AND VENUE
       3.       This Court has general original jurisdiction of this matter pursuant to Kan. Stat.

Ann. § 20-301, as this is a civil action and there is no other law to the contrary.

       4.       Personal jurisdiction over Defendants is proper under Kan. Stat. Ann. § 60-

308(b)(A)-(B) and/or (L), as they in person or through their agents transact business in this state,

have committed a tortious act in this state and/or have contact with this state which would support

jurisdiction consistent with the constitutions of the United States and of this state.

       5.       Venue is proper in this County pursuant to Kan. Stat. Ann. § 60-604(2) and/or (3)

insofar as this is the county in which the cause of action arose and/or Defendants were transacting

business at the time of the filing of this petition and Plaintiffs were residents of this county at the

time the cause of action alleged herein arose.

                                              PARTIES

       6.       Plaintiff Alyssa Johnson (“Ms. Johnson”), is a natural person and resident of

Wichita, Sedgwick County, Kansas.

       7.       Plaintiff Harold Nyanjom (“Mr. Nyanjom”) is a natural person and resident of

Wichita, Sedgwick County, Kansas.

       8.       Defendant Sonic Corp. is a corporation organized under the laws of Delaware with

its principal place of business in Oklahoma City, Oklahoma. Sonic Corp. is the parent corporation

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of defendant America’s Drive-In Restaurants LLC.

       9.      Defendant America’s Drive-In Restaurants LLC is a limited liability company

organized under the laws of Delaware with its principal place of business in Oklahoma City,

Oklahoma. Upon information and belief, America’s Drive-In Restaurants LLC is a wholly-owned

subsidiary of Sonic Corp. and owns and operates the Sonic location that issued Plaintiffs the

transaction receipts at issue herein.

                                   FACTUAL ALLEGATIONS

                                        Background of FACTA

       10.     Identity theft is a serious issue affecting both consumers and businesses. As of

2018, a Harris Poll revealed that nearly 60 million Americans have been affected by identity theft.

There were a record high 16.7 million victims of identity fraud in 2017 alone, and account

takeovers (when a thief opens a credit card account or other financial account using a victim’s

name and other stolen information) tripled in 2017 from 2016, causing $5.1 billion in losses.

       11.     Upon signing FACTA into law, President George W. Bush remarked that “[s]lips

of paper that most people throw away should not hold the key to their savings and financial

secrets.” 39 Weekly Comp. Pres. Doc. 1746, 1757 (Dec. 4, 2003). President Bush added that the

government, through FACTA, was “act[ing] to protect individual privacy.” Id.

       12.     One such FACTA provision was specifically designed to thwart identity thieves’

ability to gain sensitive information regarding a consumer’s credit or debit card account from a

receipt provided to the consumer at the point of sale, which, through any number of ways, could

fall into the hands of someone other than the consumer. FACTA accomplishes this goal by

requiring merchants to mask or “truncate” the card expiration date and most of the consumer’s

credit or debit card account number on the transaction receipt provided to the consumer at the point



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of sale.

           13.   Codified at 15 U.S.C. § 1681c(g), this provision states:

                 Except as otherwise provided in this subsection, no person that
                 accepts credit cards or debit cards for the transaction of business
                 shall print more than the last 5 digits of the card number or the
                 expiration date upon any receipt provided to the cardholder at the
                 point of sale or transaction.

15 U.S.C. § 1681c(g) (the “Receipt Provision”).

           14.   After enactment, FACTA provided three (3) years in which to comply with the

Receipt Provision, mandating full compliance no later than December 4, 2006.

           15.   The Receipt Provision was widely publicized among retailers and the FTC. For

example, on March 6, 2003, in response to earlier state legislation enacting similar truncation

requirements, then-CEO of Visa USA, Carl Pascarella, explained:

                 Today, I am proud to announce an additional measure to combat
                 identity theft and protect consumers. Our new receipt truncation
                 policy will soon limit cardholder information on receipts to the last
                 four digits of their accounts. The card’s expiration date will be
                 eliminated from receipts altogether.... The first phase of this new
                 policy goes into effect July 1, 2003 for all new terminals . . . .

           16.   Within 24 hours, MasterCard and American Express announced they were

imposing similar requirements.

           17.   Card issuing organizations proceeded to require compliance with FACTA by

contract, in advance of FACTA’s mandatory compliance date.

           18.   Because a handful of large retailers did not comply with their contractual

obligations to the card companies and FACTA’s straightforward requirements, Congress passed

The Credit and Debit Card Receipt Clarification Act of 2007, to temporarily change the definition

of willful noncompliance with respect to violations involving the failure to mask card expiration

dates on transaction receipts during a short period of time immediately after FACTA’s effective


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date.

         19.    Importantly, the Clarification Act did not amend FACTA to allow disclosure of the

card number’s expiration date. Instead, it simply provided amnesty for certain past violators up to

June 3, 2008.

         20.    In the interim, card processing companies have continually alerted their merchant

clients, including Defendants, of FACTA’s requirements. According to Visa, no more than the last

four digits should be printed on transaction receipts:

                Certain countries, such as the U.S., may also have legal restrictions
                on PAN and expiration date printing on cardholder transaction
                receipts and displays. For U.S.-based merchants, POS devices must
                only provide the last four digits of the PAN and must not provide
                the expiration date on cardholder transaction receipts.

Visa        Transaction       Acceptance        Device       Guide       (TADG),        at     21,

https://usa.review.visa.com/dam/VCOM/regional/na/us/partner-with-us/documents/transaction-

acceptance-device-guide-tadg.pdf (Nov. 2016).

         21.    As noted above, the processing companies have required that credit card or debit

card expiration dates and more than the last five digits of card account numbers not be shown since

2003 and still require it. For example, American Express informs merchants:

                Pursuant to Applicable Law, truncate the Card Number and do not
                print the Card's Expiration Date on the copies of Charge Records
                delivered to Cardmembers. Truncated Card Number digits must be
                masked with replacement characters such as "x," "*," or "#," and not
                blank spaces or numbers. Here is an example of a Charge Record
                with a truncated Card Number.




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American                 Express             Merchant               Operating               Guide,

http://www.americanexpress.com/Merchantopguide at 22 (July 2020).

       22.     Similarly, MasterCard required in a section titled Primary Account Number (PAN)

truncation and Expiration Date Omission:

               A Transaction receipt generated by an electronic Terminal, whether
               attended or unattended, must not include the Card expiration date.
               In addition, a Transaction receipt generated for a Cardholder by an
               electronic Terminal, whether attended or unattended, must reflect
               only the last four digits of the primary account number (PAN). All
               preceding digits of the PAN must be replaced with fill characters,
               such as “X,” “*,” or “#,” that are neither blank spaces nor numeric
               characters.

MasterCard Transaction Processing Rules, https://www.mastercard.us/content/dam/mccom/en-

us/documents/TPR-manual-June2015.pdf , at 84 (June 9, 2015).

       23.     So problematic is the crime of identity theft that the three main credit reporting

agencies,    Experian,    Equifax,   and   Transunion,   joined   to   set-up   a    free   website

(http://www.annualcreditreport.com) to comply with FACTA requirements and to provide

consumers with a means of monitoring their credit reports for possible identity theft.

       24.     FACTA prohibits the printing card expiration dates or more than the last five digits

of card account numbers on receipts to protect persons from identity theft and other harms.

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                           Defendants’ Prior Knowledge of FACTA

       25.     Most of Defendants’ business peers and competitors currently and diligently ensure

their credit card and debit card receipt printing process remains fully compliant with FACTA by

consistently verifying their card machines and devices comply with the Receipt Provision.

Defendants could very easily have done the same.

       26.     Indeed, on information and belief, it would have taken Defendants less than thirty

seconds to run a test receipt in order to determine whether its point-of-sale systems were violating

FACTA before using the systems.

       27.     Furthermore, Defendants’ knowledge and experience regarding federal laws

governing financial transactions no doubt translates to Defendants having intimate knowledge of

the requirements of FACTA.

       28.     Indeed, Defendants was not only clearly informed not to print more than the last

five digits of card account numbers on transaction receipts, but it was contractually prohibited

from doing so. Defendants accepts credit and debit cards from all major issuers, such as Visa,

MasterCard, American Express and Discover Card.             Each of these companies sets forth

requirements that merchants such as (and including) Defendants must follow, including FACTA’s

redaction and truncation requirements found in the Receipt Provision. See Hawkins v. Capital

Fitness, Inc., 2015 IL App (1st) 133716, ¶14 (2015) (party signing a contract charged with

knowledge of its contents and bound by it).

                                  Facts Pertaining to Plaintiffs

       29.     On or about June 30, 2020, Ms. Johnson used her personal debit card to make a

purchase at the Sonic store located at 1828 East 47th Street South, Wichita, Kansas.




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       30.     Defendants provided Ms. Johnson with an electronically-printed receipt that bore

ten digits of her 16-digit debit card account number.

       31.     As a direct result of Defendants printing the above account information on this

receipt, Ms. Johnson was required to take steps to safeguard the receipt.

       32.     The disclosure of ten digits of Ms. Johnson’s 16-digit debit card account number

was a breach of confidence and exposed her to a heightened risk of identity theft.

       33.     On or about July 28, 2020, Mr. Nyanjom used his personal debit card to make a

purchase at the Sonic store located at 13535 West Maple Street, Wichita, Kansas.

       34.     Defendants provided Mr. Nyanjom with an electronically-printed receipt that bore

ten digits of her 16-digit debit card account number.

       35.     As a direct result of Defendants printing the above account information on this

receipt, Mr. Nyanjom was required to take steps to safeguard the receipt.

       36.     The disclosure of ten digits of Mr. Nyanjom’s 16-digit debit card account number

was a breach of confidence and exposed him to a heightened risk of identity theft.

                           Defendants’ Noncompliance with FACTA

       37.     At all times relevant herein, Defendants were acting by and through their

subsidiaries, members, agents, servants and/or employees, each of whom were acting within the

course and scope of their agency or employment, and under the direct supervision and control of

Defendants.

       38.     Defendants dictate the point of sale and payment system technology is use at every

Sonic restaurant and has “systems that receive transaction-level data from Franchise Drive-Ins.”

See Sonic Corp Form 10-K (Oct. 23, 2018), at 2.

       39.     At all times relevant herein, Defendants’ conduct, as well as that of its subsidiaries,



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agents, servants and/or employees, were in knowing or reckless disregard for federal law and the

rights of Plaintiffs and other members of the class.

       40.        As one judge recently stated in another FACTA case, “willfulness,” can be

discerned “from the continued use of a system whose characteristics would be known to any

merchant who knows what is being spat out by its machinery.” Tran v. Kohl’s Corp., No.

BC661136 (L.A. Super. Ct. Feb. 9, 2018).

       41.        Upon information and belief, Defendants implements, oversees, and maintains

control over the same uniform debit and credit card payment processing policies, practices, and

procedures for the transactions at issue in this case – including, without limitation, negotiating,

entering into, and acting pursuant to various contracts and agreements with the electronic payment

processing company whose technology Defendants uses to process credit and debit card

transactions.

       42.        Upon information and belief, the point of sale systems used by Defendants has the

capacity to maintain records of all payment transactions and have the ability to print duplicate

copies of all receipts provided to customers.

       43.        Sonic’s Executive VP/Chief Brand Officer is intimately familiar with FACTA,

having been previously been Exec VP & Chief Marketing Officer at Darden Restaurants, Inc.

(Olive Garden), which, during his tenure, was sued for the same type of FACTA violation as

alleged herein.

       44.        Notwithstanding its knowledge of the requirements of FACTA and the well-

documented dangers imposed upon consumers through their failure to comply, Defendants issued

thousands of point of sale receipts containing ten digits of class members’ 16-digit debit and/or

credit card account numbers.



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       45.     By ignoring the requirements of this important federal statute, in an environment

already ripe for identity theft and other evils, Defendants uniformly invaded Plaintiffs’ and the

putative Class members’ privacy. Defendants’ conduct alleged herein resulted in the disclosure of

Plaintiffs’ and the Class members’ private financial information to the world, including to persons

who might find the receipts in the trash or elsewhere.

       46.     Simply put, by printing numerous transaction receipts in wholesale violation of a

well-known federal statute, Defendants has caused – to paraphrase the words of the Honorable

Judge Posner (Ret.) – “an unjustifiably high risk of harm that [wa]s either known or so obvious

that it should [have been] known” to Defendants. Redman v. RadioShack Corp., 768 F.3d 622,

627 (7th Cir. 2014) (quoting Farmer v. Brennan, 511 U.S. 825, 836 (1994)).

       47.     Defendants exercised intrusive, hands-on, day-to-day control of the point of sale

systems used at each Sonic restaurant located in the United States and, as a result, oversees the

compliance of such systems with the truncation requirements of FACTA.

                              CLASS ACTION ALLEGATIONS

       48.     This action satisfies the prerequisites for maintenance as a class action provided in

Kan. Stat. Ann. § 60-223, as set forth below.

       49.     Class Definition. Plaintiffs bring this action individually and on behalf of the

following class of similarly situated persons (“Class”), of which Plaintiffs are members:

               All natural persons domiciled in the United States or its territories
               who within five years preceding the violation alleged herein (“Class
               Period”) engaged in one or more transactions using a debit card or
               credit card at a Sonic location at a time when the point-of-sale
               system used to process the transaction was programmed to print
               more than the last five digits of the debit or credit card number used
               in the transaction on the customer’s receipt.

Excluded from the Class are any of Defendants’ officers, directors or employees, the presiding



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judge, Class counsel and members of their immediate families, and persons who timely and

properly exclude themselves from the Class.

        50.     Numerosity. The members of the Class are so numerous and geographically

dispersed throughout Kansas and other states such that joinder of all members is impracticable.

Plaintiffs believe that there are thousands of persons in the Class. The exact number and identity

of Class members is unknown to Plaintiffs at this time and can only be ascertained from

information and records in the possession, custody or control of Defendants.

        51.     Commonality. There are questions of law or fact common to the Class including,

inter alia, the following:

                a.      whether Defendants regularly printed transaction receipts that disclosed

more than the last five digits of consumer debit or credit card numbers in violation of FACTA;

                b.      whether Defendants’ FACTA violations were willful, i.e., knowing or

reckless, thus entitling Plaintiffs and the proposed class to statutory damages;

                c.      whether Plaintiffs and the members of the Class are entitled to their

damages, including statutory damages, and the appropriate measure thereof; and

                d.      whether equitable or injunctive relief is appropriate.

        52.     Typicality. The claims of Plaintiffs are typical of the claims of the Class alleged

herein. Plaintiffs and other members of the Class are all persons who engaged in one or more

transactions using a debit card or credit card at a Sonic location at a time when the point-of-sale

system used to process the transaction was programmed to print more than the last five digits of

the debit or credit card number used in the transaction on the customer’s receipt.

        53.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class.

Plaintiffs have retained counsel who are competent and experienced in the prosecution of complex



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and class action litigation. The interests of Plaintiffs are aligned with, and not antagonistic to,

those of the Class.

       54.      Kan. Stat. Ann. § 60-223(b)(2) Requirements. The prerequisites to maintaining a

class action for injunctive and equitable relief pursuant to Kan. Stat. Ann. § 60-223(b)(2) exist, as

Defendants have acted or have refused to act on grounds generally applicable to the Class thereby

making appropriate final injunctive and corresponding declaratory relief with respect to the Class

as a whole.

       55.      Kan. Stat. Ann. § 60-223(b)(3) Requirements. This case satisfies the prerequisites

of Kan. Stat. Ann. § 60-223(b)(3). The common questions of law and fact enumerated above

predominate over questions affecting only individual members of the Class, and a class action is

the superior method for fair and efficient adjudication of the controversy as indicated by:

                (A)    The likelihood that individual members of the Class have an interest in

individually controlling the prosecution of separate actions is remote due to the extensive time and

considerable expense necessary to conduct such litigation, especially in view of the relatively

modest amount of monetary relief available to individual Class members;

                (B)    Upon information and belief, there is no other litigation concerning these

matters already begun by other Class members;

                (C)    Concentrating the litigation of Plaintiffs’ and the Class’ claims in this Court,

as opposed to numerous, geographically dispersed forums, is desirable; and

                (D)     This action will be prosecuted in a fashion to ensure the Court’s able

management of this case as a class action on behalf of the Class such that difficulties in doing so

are unlikely.

Kan. Stat. Ann. § 60-223(b)(3)(A)-(D).



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                                               COUNT I

                             (Violation of 15 U.S.C. § 1681c(g) (FACTA))

        56.        Plaintiffs repeat and reallege the allegations of Paragraphs 1 through 55, supra, as

though fully stated herein.

        57.        At all times material hereto, there was in full force and effect a statute commonly

referred to as Fair and Accurate Credit Transactions Act of 2003 (“FACTA”), which provides in

in relevant part as follows:

                   Except as otherwise provided in this subsection, no person that
                   accepts credit cards or debit cards for the transaction of business
                   shall print more than the last 5 digits of the card number or the
                   expiration date upon any receipt provided to the cardholder at the
                   point of sale or transaction.

15 U.S.C. § 1681c(g) (“Receipt Provision”) (emphasis added).

        58.        This section applies to any “device that electronically prints receipts” (hereafter

“Devices”) at point of sale or transaction. 15 U.S.C. §1681c(g)(3).

        59.        Defendants use Devices for point of sale transactions at Sonic stores in Kansas and

in other states.

        60.        On or before the date on which this petition was filed, Defendants provided

Plaintiffs and members of the class with receipt(s) that failed to comply with the Receipt Provision.

        61.        At all times material hereto, Defendants was aware, or should have been aware, of

both the Receipt Provision as well as its obligation to comply with said provision.

        62.        Notwithstanding the three-year period to comply with FACTA and its

accompanying provisions, and the subsequent years since FACTA became effective, and having

knowledge of the Receipt Provision and FACTA as a whole, Defendants knowingly or recklessly

violated, and continued to violate, the Receipt Provision.



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        63.    By printing 10 digits of 16 digits of Plaintiffs’ and other Class members’ debit card

and credit numbers on their transaction receipt, Defendants caused them to suffer a heightened risk

of identity theft, exposed their private information to others who may have handled the receipt,

and forced them to take action prevent further disclosure of the private information displayed on

the receipt.

        64.    As a result of Defendants’ willful violations of FACTA, Plaintiffs and other

members of the Class continue to be exposed to an elevated risk of identity theft.

        65.    Defendants are liable to Plaintiffs and other members of the Class pursuant for

statutory damages of not less than $100 but not more than $1,000 per violation, as well as punitive

damages and attorneys' fees. 15 U.S.C. § 1681n(a).

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of members of the Class, pray for

judgment in their favor and against Defendants and for the following relief:

               A.         Finding that this action satisfies the prerequisites for maintenance as a class

action set forth in Kan. Stat. Ann. § 60-223, certifying the Class defined herein and designating

Plaintiffs as representatives of the Class and their undersigned counsel as Class counsel;

               B.         Awarding Plaintiffs and the Class statutory damages of not less than $100

but not more than $1,000 per violation, as well as punitive damages and attorneys’ fees. 15 U.S.C.

§ 1681n(a), together with their allowable costs and expenses;

               C.         Awarding Plaintiffs and the Class all allowable pre- and post-judgment

interest on the foregoing awarded damages;

               D.         Awarding Plaintiffs and the Class final injunctive and corresponding

declaratory relief; and



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              E.      Awarding such other and further available relief and any other relief the

Court deems just and appropriate.

                                        JURY DEMAND

       Plaintiffs hereby demands a trial by jury on all issues so triable.

Dated: August 4, 2020                                   Respectfully submitted,



                                                        By: /s/ A.J. Stecklein
                                                        A.J. Stecklein            KS #16330
                                                        Michael H. Rapp           KS #25702
                                                        Matthew S. Robertson      KS #27254
                                                        STECKLEIN & RAPP CHARTERED
                                                        748 Ann Avenue, Suite 101
                                                        Kansas City, Kansas 66101
                                                        (913) 371-0727
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                                                        msr@kcconsumerlawyer.com

                                                        Keith J. Keogh (pro hac vice pending)
                                                        William M. Sweetnam (pro hac vice pending)
                                                        KEOGH LAW, LTD.
                                                        55 West Monroe Street, Suite 3390
                                                        Chicago, Illinois 60603
                                                        (312) 726-1092
                                                        keith@keoghlaw.com
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                                                        Scott D. Owens (pro hac vice pending)
                                                        SCOTT D. OWENS, P.A.
                                                        3800 South Ocean Drive, Suite 235
                                                        Hollywood, Florida 33019
                                                        (954) 589-0588
                                                        scott@scottdowens.com

                                                        Attorneys for Plaintiffs Alyssa Johnson and
                                                            Harold Nyanjom and the Class




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                                                ELECTRONICALLY FILED
                                                    2020 Aug 13 AM 10:18
                                      CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                             CASE NUMBER: 2020-CV-001248-TO

                     IN THE EIGHTEENTH JUDICIAL DISTRICT
                  DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                               CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf of
 all others similarly situated,
                                Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                            Division: 25

 SONIC CORP., et al.,
                                 Defendants.


                   RETURN OF SERVICE – PERSONALLY SERVED

       I hereby certify that a Petition and Summons were personally served on the 7th day of
August 2020 in the above-captioned matter to Defendant Sonic Corp. The name and address of the
person served are: John Hopkins, paralegal, Sonic Corp., 300 Johnny Bench Drive, Oklahoma
City, Oklahoma 73104.
       The affidavit of service is attached hereto as Exhibit A.

                                           Respectfully submitted,


                                           By: /s/ A.J. Stecklein
                                           A.J. Stecklein #16330
                                           Michael H. Rapp # 25702
                                           Matthew S. Robertson #27254
                                           Stecklein & Rapp Chartered
                                           748 Ann Avenue, Suite 101
                                           Kansas City, Kansas 66101
                                           Telephone: 913-371-0727
                                           Facsimile: 913-371-0727
                                           Email: AJ@KCconsumerlawyer.com
                                                   MR@KCconsumerlawyer.com
                                                   MSR@KCconsumerlawyer.com

                                           Keith J. Keogh (pro hac vice pending)
                                           William M. Sweetnam (pro hac vice pending)
                                           Keogh Law, Ltd.
                                           55 West Monroe Street, Suite 3390
                                           Chicago, Illinois 60603
                                           Telephone: 312-726-1092
                                           Email: keith@keoghlaw.com
                                                   wsweetnam@keoghlaw.com
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 20 of 45




                               Scott D. Owens (pro hac vice pending)
                               Scott D. Owens, P.A.
                               3800 South Ocean Drive, Suite 235
                               Hollywood, Florida 33019
                               Telephone: 954-589-0588
                               Email: scott@scottdowens.com
                               Attorneys for Plaintiffs Alyssa Johnson and
                               Harold Nyanjom and the Class
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 21 of 45




                     Exhibit A
      Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 22 of 45




                                              AFFIDAVIT OF SERVICE

State of Kansas                                       County of Sedgwick                                     District Court

Case Number: 2020-CV-001248-TO

Plaintiff/Petitioner:
HAROLD NYANJOM, et al.
vs.
Defendant/Respondent:
SONIC CORP, et al.

Received by HPS Process Service & Investigations to be served on Sonic Corp c/o Paige S Bass, 300 Johnny
Bench Drive, Oklahoma City, OK 73104.

I, ALEXANDER BLEA, being duly sworn, depose and say that on the 7th day of August, 2020 at 9:37 am, I:

Served the within named establishment by delivering a true copy of Summons; and Class Action Petition to John
Hopkins, Paralegal at the address of 300 Johnny Bench Drive, Oklahoma City, OK 73104.


I am over the age of eighteen, and have no interest in the above action.




                                                                          ALEXANDER BLEA
                                                                          Process Server
Subscribed and Sworn to before me on the t ~day
of                 Q20 by the affiant who is                              HPS Process Service & Investigations
pe ona y known to                                                    www.hpsprocess.com
                                                       `aUttgtmmm
                                                         -aU~gy°~.y 1669 Jefferson
N TARY PUBLI                                       :`P~3aotY 11AKansas City, MO 64108
                                                     ~f #0204572     800) 796-9559
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                              Copyright ©1992-2020 Database Services, Inc. -Process Servers Toolbox VS.1t
 Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 23 of 45
                                                             ELECTRONICALLY FILED
                                                             2020 Aug 17 AM 11:54
                                               CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                                      CASE NUMBER: 2020-CV-001248-TO




Court:                     Sedgwick County District Court

Case Number:               2020-CV-001248-TO

Case Title:                Harold Nyanjom, et al. vs. Sonic Corp, et al.

Type:                      Order Admitting Out-of-State Attorney to Practice



                                                       SO ORDERED.




                                                       /s/ Honorable Judge Sean Hatfield



Electronically signed on 2020-08-17 11:54:50   page 1 of 3
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 24 of 45




                  IN THE EIGHTEENTH JUDICIAL DISTRICT
               DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                            CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                            Division: 25

 SONIC CORP., et al.,
                                Defendants.


       ORDER ADMITTING OUT-OF-STATE ATTORNEY TO PRACTICE

       IT IS HEREBY ORDERED this _____ day of _______________________,

2020, that Keith J. Keogh, whose address is 55 West Monroe Street, Suite 3390, Chicago,

Illinois 60603, is admitted to practice law before this Court for the business of this case

only, having made the showing required by Supreme Court Rule 116, and having sworn

to and signed the Out-of-State Attorney’s Oath.

       This order shall be effective only so long as the out-of-state attorney has associated

continually and is personally appearing with A.J. Stecklein, upon whom service may be

had in all matters connected with this action with the same effect as if personally made on

the out-of-state attorney.



_________________________________________
Judge of the District Court
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 25 of 45




                                  Submitted by:

                                  By: /s/ A.J. Stecklein
                                  A.J. Stecklein #16330
                                  Michael H. Rapp # 25702
                                  Matthew S. Robertson #27254
                                  Stecklein & Rapp Chartered
                                  748 Ann Avenue, Suite 101
                                  Kansas City, Kansas 66101
                                  Telephone: 913-371-0727
                                  Facsimile: 913-371-0727
                                  Email: AJ@KCconsumerlawyer.com
                                          MR@KCconsumerlawyer.com
                                          MSR@KCconsumerlawyer.com
                                  Attorneys for Plaintiffs
 Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 26 of 45
                                                             ELECTRONICALLY FILED
                                                             2020 Aug 17 AM 11:54
                                               CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                                      CASE NUMBER: 2020-CV-001248-TO




Court:                     Sedgwick County District Court

Case Number:               2020-CV-001248-TO

Case Title:                Harold Nyanjom, et al. vs. Sonic Corp, et al.

Type:                      Order Admitting Out-of-State Attorney to Practice



                                                       SO ORDERED.




                                                       /s/ Honorable Judge Sean Hatfield



Electronically signed on 2020-08-17 11:54:50   page 1 of 3
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 27 of 45




                  IN THE EIGHTEENTH JUDICIAL DISTRICT
               DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                            CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                           Division: 25

 SONIC CORP., et al.,
                                Defendants.


       ORDER ADMITTING OUT-OF-STATE ATTORNEY TO PRACTICE

       IT IS HEREBY ORDERED this _____ day of _______________________,

2020, that William M. Sweetnam, whose address is 55 West Monroe Street, Suite 3390,

Chicago, Illinois 60603, is admitted to practice law before this Court for the business of

this case only, having made the showing required by Supreme Court Rule 116, and

having sworn to and signed the Out-of-State Attorney’s Oath.

       This order shall be effective only so long as the out-of-state attorney has associated

continually and is personally appearing with A.J. Stecklein, upon whom service may be

had in all matters connected with this action with the same effect as if personally made on

the out-of-state attorney.



_________________________________________
Judge of the District Court
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 28 of 45




                                  Submitted by:

                                  By: /s/ A.J. Stecklein
                                  A.J. Stecklein #16330
                                  Michael H. Rapp # 25702
                                  Matthew S. Robertson #27254
                                  Stecklein & Rapp Chartered
                                  748 Ann Avenue, Suite 101
                                  Kansas City, Kansas 66101
                                  Telephone: 913-371-0727
                                  Facsimile: 913-371-0727
                                  Email: AJ@KCconsumerlawyer.com
                                          MR@KCconsumerlawyer.com
                                          MSR@KCconsumerlawyer.com
                                  Attorneys for Plaintiffs
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 29 of 45
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                                                   2020 Aug 17 AM 10:56
                                     CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                            CASE NUMBER: 2020-CV-001248-TO


                  IN THE EIGHTEENTH JUDICIAL DISTRICT
               DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                            CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                            Division: 25

 SONIC CORP., et al.,
                                Defendants.


                MOTION TO ADMIT OUT-OF-STATE ATTORNEY
                      PRO HAC VICE FOR THIS CASE

       COMES NOW A.J. Stecklein, a Kansas-licensed attorney in good standing and of

record as counsel for Alyssa Johnson and Harold Nyanjom, individually and on behalf of

all others similarly situated, Plaintiffs in the above-captioned case, and hereby moves the

Court for admission of Keith J. Keogh, an attorney licensed in Illinois, pro hac vice for

purposes of this case only.

       In support of the motion, the undersigned submits the non-refundable fee, together

with the verified application of Keith J. Keogh, which the undersigned has reviewed. As

the moving attorney, I hereby acknowledge my obligation to remain actively engaged in

the conduct of the case, attend every hearing, and sign every pleading, document, brief,

motion and other paper filed in this case on behalf of our clients.
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 30 of 45




                                           Respectfully submitted,


                                           By: /s/ A.J. Stecklein
                                           A.J. Stecklein #16330
                                           Michael H. Rapp # 25702
                                           Matthew S. Robertson #27254
                                           Stecklein & Rapp Chartered
                                           748 Ann Avenue, Suite 101
                                           Kansas City, Kansas 66101
                                           Telephone: 913-371-0727
                                           Facsimile: 913-371-0727
                                           Email: AJ@KCconsumerlawyer.com
                                                   MR@KCconsumerlawyer.com
                                                   MSR@KCconsumerlawyer.com
                                           Attorneys for Plaintiffs




                            CERTIFICATE OF FILING

        I hereby certify that the foregoing document was filed electronically with the
Shawnee County District Court on August 17, 2020, which will automatically generate
notice of filing to all counsel of record.

                                                  /s/ A.J. Stecklein
                                                  A.J. Stecklein #16330
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 31 of 45




                   IN THE EIGHTEENTH JUDICIAL DISTRICT
                DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                             CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                              Division: 25

 SONIC CORP., et al.,
                                  Defendants.


VERIFIED APPLICATION OF OUT-OF-STATE ATTORNEY FOR ADMISSION
    PRO HAC VICE TO PRACTICE IN THE ABOVE-CAPTIONED CASE

        Keith J. Keogh, an attorney not licensed to practice in Kansas, moves this Court,

under Supreme Court Rule 116, for its Order allowing the out-of-state attorney to practice

in this Court for the professional business and purpose of this case only, to represent the

following parties: Alyssa Johnson and Harold Nyanjom, individually and on behalf of all

others similarly situated, Plaintiffs in this case.

        A.J. Stecklein, an attorney who is regularly engaged in the practice of law in

Kansas, and who is in good standing under all the applicable rules of the Supreme Court

of the State of Kansas, moved for my admission pro hac vice. Said attorney shall be actively

engaged in the conduct of the case; shall sign all pleadings, documents and briefs; and shall

be present throughout all court or administrative appearances.

        In support, the applicant shows the Court that he is regularly admitted to the

following bars and courts of record: Illinois; Florida; United States Supreme Court; United

States Court of Appeals for the Seventh Circuit; United States Court of Appeals for the
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 32 of 45




Ninth Circuit; United States Court of Appeals for the Third Circuit; United States Court of

Appeals for the Eleventh Circuit; United States court of Appeals for the Second Circuit;

United States Court of Appeals for the First Circuit; United States Court of Appeals for the

Tenth Circuit; United States Court of Appeals for the Fifth Circuit; United States District

Court for the Northern District of Illinois; United States District Court for the Southern

District of Indiana; U.S. District Court for the Eastern District of Wisconsin; United States

District Court for the District of Colorado; United States District Court for the Central

District of Illinois; United States District Court for the Middle district of Florida; United

States District Court for the Southern District of Florida; United States District Court for

the Eastern District of Missouri; is regularly engaged in the practice of law in each such

jurisdiction; is in good standing pursuant to the rules of the highest appellate court of such

jurisdiction; and is not currently, nor has ever been the subject of a disciplinary action or a

current disciplinary action under investigation, including but not limited to suspension or

disbarment.

       Keith J. Keogh acknowledges that he will be held to the standard of conduct of the

State of Kansas, the Kansas Rules of Professional Conduct, and will be subject to the orders

of, and amenable to disciplinary action by, the courts and administrative tribunals of the

State of Kansas. The out-of-state attorney has sworn to and signed the Out-of-State

Attorney’s Oath, which is attached hereto.

       This application, the statements herein made, and all information provided are

complete, true and correct under penalty of perjury. I acknowledge that I have a continuing

obligation to advise the court if a change occurs with regard to any information herein
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 33 of 45




provided. The associated Kansas attorney has reviewed and approved this application as

evidenced by also signing the same.

                                           Respectfully submitted,


                                           By: /s/ A.J. Stecklein
                                           A.J. Stecklein #16330
                                           Michael H. Rapp # 25702
                                           Matthew S. Robertson #27254
                                           Stecklein & Rapp Chartered
                                           748 Ann Avenue, Suite 101
                                           Kansas City, Kansas 66101
                                           Telephone: 913-371-0727
                                           Facsimile: 913-371-0727
                                           Email: AJ@KCconsumerlawyer.com
                                                   MR@KCconsumerlawyer.com
                                                   MSR@KCconsumerlawyer.com

                                           By: /s/ Keith J. Keogh
                                           Keith J. Keogh
                                           Keogh Law, Ltd.
                                           55 West Monroe Street, Suite 3390
                                           Chicago, Illinois 60603
                                           Telephone: 312-726-1092
                                           Email: keith@keoghlaw.com
                                           Attorneys for Plaintiffs
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 34 of 45
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 35 of 45
       Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 36 of 45
                                                 ELECTRONICALLY FILED
                                                     2020 Aug 17 AM 11:06
                                       CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                              CASE NUMBER: 2020-CV-001248-TO

                     IN THE EIGHTEENTH JUDICIAL DISTRICT
                  DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                               CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf of
 all others similarly situated,
                                Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                             Division: 25

 SONIC CORP., et al.,
                                  Defendants.


                    RETURN OF SERVICE – PERSONALLY SERVED

      I hereby certify that a Petition and Summons were personally served on the 6th day of
August 2020 in the above-captioned matter to Defendant America’s Drive-In Restaurants, LLC.
The name and address of the person served are: Audra Clark, legal assistant; Corporation Service
Company, 2900 Southwest Wanamaker Drive, Suite 204, Topeka, Kansas 66614.
      The affidavit of service is attached hereto as Exhibit A.

                                            Respectfully submitted,


                                            By: /s/ A.J. Stecklein
                                            A.J. Stecklein #16330
                                            Michael H. Rapp # 25702
                                            Matthew S. Robertson #27254
                                            Stecklein & Rapp Chartered
                                            748 Ann Avenue, Suite 101
                                            Kansas City, Kansas 66101
                                            Telephone: 913-371-0727
                                            Facsimile: 913-371-0727
                                            Email: AJ@KCconsumerlawyer.com
                                                    MR@KCconsumerlawyer.com
                                                    MSR@KCconsumerlawyer.com

                                            Keith J. Keogh (pro hac vice pending)
                                            William M. Sweetnam (pro hac vice pending)
                                            Keogh Law, Ltd.
                                            55 West Monroe Street, Suite 3390
                                            Chicago, Illinois 60603
                                            Telephone: 312-726-1092
                                            Email: keith@keoghlaw.com
                                                    wsweetnam@keoghlaw.com
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 37 of 45




                               Scott D. Owens (pro hac vice pending)
                               Scott D. Owens, P.A.
                               3800 South Ocean Drive, Suite 235
                               Hollywood, Florida 33019
                               Telephone: 954-589-0588
                               Email: scott@scottdowens.com
                               Attorneys for Plaintiffs Alyssa Johnson and
                               Harold Nyanjom and the Class
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 38 of 45
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 39 of 45
                                                ELECTRONICALLY FILED
                                                    2020 Aug 17 AM 10:56
                                      CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                             CASE NUMBER: 2020-CV-001248-TO


                  IN THE EIGHTEENTH JUDICIAL DISTRICT
               DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                            CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                            Division: 25

 SONIC CORP., et al.,
                                  Defendants.


                MOTION TO ADMIT OUT-OF-STATE ATTORNEY
                      PRO HAC VICE FOR THIS CASE

       COMES NOW A.J. Stecklein, a Kansas-licensed attorney in good standing and of

record as counsel for Alyssa Johnson and Harold Nyanjom, individually and on behalf of

all others similarly situated, Plaintiffs in the above-captioned case, and hereby moves the

Court for admission of William M. Sweetnam, an attorney licensed in Illinois, pro hac vice

for purposes of this case only.

       In support of the motion, the undersigned submits the non-refundable fee, together

with the verified application of William M. Sweetnam, which the undersigned has

reviewed. As the moving attorney, I hereby acknowledge my obligation to remain actively

engaged in the conduct of the case, attend every hearing, and sign every pleading,

document, brief, motion and other paper filed in this case on behalf of our clients.
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 40 of 45




                                           Respectfully submitted,


                                           By: /s/ A.J. Stecklein
                                           A.J. Stecklein #16330
                                           Michael H. Rapp # 25702
                                           Matthew S. Robertson #27254
                                           Stecklein & Rapp Chartered
                                           748 Ann Avenue, Suite 101
                                           Kansas City, Kansas 66101
                                           Telephone: 913-371-0727
                                           Facsimile: 913-371-0727
                                           Email: AJ@KCconsumerlawyer.com
                                                   MR@KCconsumerlawyer.com
                                                   MSR@KCconsumerlawyer.com
                                           Attorneys for Plaintiffs




                            CERTIFICATE OF FILING

        I hereby certify that the foregoing document was filed electronically with the
Shawnee County District Court on August 17, 2020, which will automatically generate
notice of filing to all counsel of record.

                                                  /s/ A.J. Stecklein
                                                  A.J. Stecklein #16330
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 41 of 45




                   IN THE EIGHTEENTH JUDICIAL DISTRICT
                DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                             CIVIL DEPARTMENT

 ALYSSA JOHNSON and HAROLD
 NYANJOM, individually and on behalf
 of all others similarly situated,
                                   Plaintiffs, Case Number: 2020-CV-001248 TO

 vs.                                              Division: 25

 SONIC CORP., et al.,
                                  Defendants.


VERIFIED APPLICATION OF OUT-OF-STATE ATTORNEY FOR ADMISSION
    PRO HAC VICE TO PRACTICE IN THE ABOVE-CAPTIONED CASE

        William M. Sweetnam, an attorney not licensed to practice in Kansas, moves this

Court, under Supreme Court Rule 116, for its Order allowing the out-of-state attorney to

practice in this Court for the professional business and purpose of this case only, to

represent the following parties: Alyssa Johnson and Harold Nyanjom, individually and on

behalf of all others similarly situated, Plaintiffs in this case.

        A.J. Stecklein, an attorney who is regularly engaged in the practice of law in

Kansas, and who is in good standing under all the applicable rules of the Supreme Court

of the State of Kansas, moved for my admission pro hac vice. Said attorney shall be actively

engaged in the conduct of the case; shall sign all pleadings, documents and briefs; and shall

be present throughout all court or administrative appearances.

        In support, the applicant shows the Court that he is regularly admitted to the

following bars and courts of record: Illinois; United States Supreme Court; United States

Court of Appeals for the Second Circuit; United States Court of Appeals for the Third
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 42 of 45




Circuit; United States Court of Appeals for the Sixth Circuit; United States Court of

Appeals for the Seventh Circuit; United States Court of Appeals for the Ninth Circuit;

United States Court of Appeals for the Eleventh Circuit; United States District Court for

the District of Colorado; United States District Court for the Northern District of Illinois

(Trial Bar); United States District Court for the Central District of Illinois; United States

District Court for the Southern District of Illinois; United States District Court for the

Western District of Michigan; United States District Court for the Eastern District of

Michigan; United States District Court for the Eastern District of Texas; United States

District Court for the Western District of Wisconsin; is regularly engaged in the practice

of law in each such jurisdiction; is in good standing pursuant to the rules of the highest

appellate court of such jurisdiction; and is not currently, nor has ever been the subject of a

disciplinary action or a current disciplinary action under investigation, including but not

limited to suspension or disbarment.

       William M. Sweetnam acknowledges that he will be held to the standard of conduct

of the State of Kansas, the Kansas Rules of Professional Conduct, and will be subject to

the orders of, and amenable to disciplinary action by, the courts and administrative

tribunals of the State of Kansas. The out-of-state attorney has sworn to and signed the Out-

of-State Attorney’s Oath, which is attached hereto.

       This application, the statements herein made, and all information provided are

complete, true and correct under penalty of perjury. I acknowledge that I have a continuing

obligation to advise the court if a change occurs with regard to any information herein

provided. The associated Kansas attorney has reviewed and approved this application as

evidenced by also signing the same.
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 43 of 45




                                  Respectfully submitted,


                                  By: /s/ A.J. Stecklein
                                  A.J. Stecklein #16330
                                  Michael H. Rapp # 25702
                                  Matthew S. Robertson #27254
                                  Stecklein & Rapp Chartered
                                  748 Ann Avenue, Suite 101
                                  Kansas City, Kansas 66101
                                  Telephone: 913-371-0727
                                  Facsimile: 913-371-0727
                                  Email: AJ@KCconsumerlawyer.com
                                          MR@KCconsumerlawyer.com
                                          MSR@KCconsumerlawyer.com

                                  and


                                  By: /s/ William M. Sweetnam
                                  William M. Sweetnam
                                  Keogh Law, Ltd.
                                  55 West Monroe Street, Suite 3390
                                  Chicago, Illinois 60603
                                  Telephone: 312-726-1092
                                  Email: wsweetnam@keoghlaw.com
                                  Attorneys for Plaintiffs
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 44 of 45
Case 6:20-cv-01240-JWB-KGG Document 1-1 Filed 09/08/20 Page 45 of 45
